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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                     Chapter 11

    AMERIFIRST FINANCIAL, INC., et al.,1                      Case No. 23-11240 (TMH)

    Debtors.                                                  (Jointly Administered)

                                                              Re: D.I. 21 & 61



                                           NOTICE OF SERVICE

            PLEASE TAKE NOTICE, that on September 15, 2023, Eric Bowlby, by and through its

undersigned counsel, caused the Interested Party Eric Bowlby’s Document Production Requests

Directed to Reverence Capital Partners to be served in the manner indicated upon the following

counsel of record:

        Manisha M. Sheth                                          Bennett Murphy
        Patricia Tomasco                                          Razmig Izakelian
        Quinn Emanuel Urquhart & Sullivan, LLP                    Quinn Emanuel Urquhart & Sullivan, LLP
        51 Maidson Avenue, 22nd Floor                             865 S. Figueroa St., 10th Floor
        New York, NY 10010                                        Los Angeles, CA 90017
        manishasheth@quinnemanuel.com                             bennettmurphy@quinnemanuel.com
        pattytomasco@quinnemanuel.com                             razmigizakelian@quinnemanuel.com

        Brittany Nelson                                           Christopher Samis
        Quinn Emanuel Urquhart & Sullivan, LLP                    L. Katherine Good
        13001 I Street NW, Suite 900                              Katelin Morales
        Washington, DC 20005                                      Potter Anderson & Corroon LLP
        brittanynelson@quinnemanuel.com                           1313 North Market Street, 6th Floor
                                                                  Wilmington, DE 19801-6108
                                                                  csamis@potteranderson.com
                                                                  kgood@potteranderson.com
                                                                  kmorales@potteranderson.com


            By Email

1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial, Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps Road, Suite 117, Mesa,
Arizona 85203.

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Dated: September 15, 2023          PASHMAN STEIN WALDER HAYDEN, P.C
       Wilmington, Delaware
                                    /s/ Joseph C. Barsalona II
                                   William R. Firth, III (No. 4356)
                                   Joseph C. Barsalona II (No. 6102)
                                   1007 North Orange Street, 4th Floor, #183,
                                   Wilmington, DE 19801
                                   Telephone: (302) 592-6497
                                   Facsimile: (201) 488-5556
                                   Email: wfirth@pashmanstein.com
                                            jbarsalona@pashmanstein.com

                                  Counsel to Eric Bowlby, on behalf of himself and
                                  other displaced shareholders of AmeriFirst Financial, Inc.




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